                Exhibit EEE




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                        NORTH CAROLINA

                  () BLACK                                                                10
                     Alliance




                ABOUT US


                                                                                                    Witness:
                                                                                                M. Bass 30(b)(6)

                                                                                                    Ex. 3
                                                                                                3/25/2025 D. Myers Byrd




https://ncblackalliance.org/about-us/                                                                                 1/9


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                                                                                                    NCBA_0000035
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                       The North Carolina Black Alliance (NCBA) is working
                       toward state-level systemic change by
                       strengthening the network of elected officials
                       representing communities of color throughout the
                       state and collaborating with progressive, grassroots
                       networks on intersecting issues. These issues range
                       from voting rights, gerrymandering, criminal justice
                       reform, health and wellness, economic development
                       to education. The Alliance is an intergovernmental
                       network of African American legislators, county
                       commissioners, school board members, and
                       municipal elected officials centered by a
                       commitment to ambitiously address broad issues of
                       inequality and fairness.

                       NCBA collaborates with strategic partners to
                       advance the work of those organizations and to
                       enhance intentional collaboration with black
                       constituencies.



                         NC BLACK ELECTED
                        OFFICIALS BY COUNTY


https://ncblackalliance.org/about-us/                                                                           2/9


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                                                                                                       NCBA_0000036
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                    North Carolina Black Elected Officials
                    by County
                    1                    38




                    Source: World Bank, Various County Board of Elections • Completed by TheDMJGroup.com


                                                                                                       A Flourish map




                                                                                          36
                        NC Black Elected Officials                           Counties Represented




                                        37                                                34
                 Mecklenburg County Officials                              Guilford County Officials


https://ncblackalliance.org/about-us/                                                                                           3/9


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                                        32
                  Cumberland County Officials




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                                                                                                        I
                                                                                                            IN




                        BOARD OF DIRECTORS




                                        NC Senator Valerie Foushee
                                                  Chair




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                                                                                                       NCBA_0000040
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                                            Keith Sutton
                                             Vice Chair




                                            Viola Harris




                         Charles Evans                       Richard Hooker


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                                                                                                    NCBA_0000041
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                    Cumberland County                  Cleveland County Board                          '9 Iw
                      Commissioner                          of Education

                          Valerie Jones                            Renee Price
              Mayor Pro Tem, Town of                             orange County
                     Sedalia                                     Commissioner

                             Fred Yates
                Mayor, Town of Winfall




                                          AFFILIATE
                                        ORGANIZATIONS

                            North Carolina                      North Carolina Black
                          Association of Black                   Elected Municipal
                            County Officials                          Officials




                        North Carolina Caucus                      North Carolina
                        of Black School Board                     Legislative Black
                              Members                            Caucus Foundation




                                          PARTNERS
https://ncblackalliance.org/about-us/                                                                          8/9


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